 

 

Case 18-15891-LMI Doc5 Filed 05/16/18 Page 1 of/1
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

www. fisb.uscourts.gov on

In re: Case No. i:
Chapter 7 i

a

MUIET IK Jyas eZ Debtor! co
APPLICATION FOR INDIVIDUALS TO PAY THE FILING FEE IN INSTALLMENTS:

1. Which chapter of the Bankruptcy Code are you choosing to file under: *

 

Petition Filing Fee Final Inst

   

Initial Installment Payment
( $167.50 7

HChapter 7: $335 $167.50
QO Chapter 11: $1,717 $858.50 $858.50
CO Chapter 12: $275 $137.50 $137.50
C Chapter 13: $310 $155.00 $155.00

| am unable to pay the full filing fee with the petition and apply to
accordance with Bankruptcy Rule 1006, Local Rule 1006-1 and the curre
schedule established by this court.

pay in installments in
nt mandatory payment

| understand that, in order for this application to be approved absent further order of the court, |
must have paid half of the filing fee_due_at the time of filing my petition and | must pay the
remaining half which equals $ Lb 7, SQ _ onor before 60 days from the filing date of my
petition.

| understand that payment must be in cash or cashier's check unless sub
an attorney.

mitted electronically by

| understand that if | fail to pay the fee when due, my bankruptcy case may be dismissed and |

 

 

 

 

may not receive a discharge of my debts. If | am a chapter 13 debtor,
confirmation of my plan, the unpaid balance of the filing fee must be
chapter 7 debtor, | understand my discharge will not be entered until my fi

connection with this bankruptcy case.

Lew? S

Signature of Debtor
(In a joint case, both spou

 

Signature of Attorney Date

| understand that | must pay the entire filing fee before making any mor

any more property to an attorney, bankruptcy petition preparer, or anyone else for services in

| understand that upon
paid in full. If | am a
ling fee is paid in full.

e payments or transfer

”

—

LE

Date

ses must sign.)

 

 

Name of Attorney Signature of Joint Debtor

LF-3 (rev. 12/01/15)

if any) Date

 
